                    Case 18-30089            Doc 1       Filed 10/26/18 Entered 10/26/18 10:15:06                              Desc Main
                                                           Document     Page 1 of 10
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Chicago Surgical Clinic LTD

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  129 W Rand Road
                                  Arlington Heights, IL 60004
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Chicago Surgical Clinic, Ltd.
                                                                                                  129 W Rand Road, Suite 2 Arlington Heights, IL
                                                                                                  60004
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Chicago Surgical Clinic LTD                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6219

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Chicago Surgical Clinic LTD                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Chicago Surgical Clinic LTD                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 25, 2018
                                                  MM / DD / YYYY


                             X   /s/ Yelena Levitin                                                       Yelena Levitin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jeffrey Strange                                                       Date October 25, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey Strange 3122923
                                 Printed name

                                 Jeffrey Strange & Associates
                                 Firm name

                                 717 Ridge Road
                                 Wilmette, IL 60091
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     847-256-7377                  Email address      jstrangelaw@aol.com

                                 3122923 IL
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Chicago Surgical Clinic LTD
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                                                                                                                         $19,804.18
 PO Box 0001
 Los Angeles, CA
 90096
 Chase Bank                                                                                                                                                               $17,325.40
 PO Box 15298
 Wilmington, DE
 19850
 Chase Bank                                                                                                                                                               $11,607.30
 PO Box 15298
 Wilmington, DE
 19850
 Chase Bank                                                                                                                                                               $34,500.04
 PO Box 15298
 Wilmington, DE
 19850
 Chase Visa                                                                                                                                                               $37,762.91
 PO Box 15298
 Wilmington, DE
 19850
 Chase Visa                                                                                                                                                                 $9,201.22
 PO Box 15298
 Wilmington, DE
 19850
 First Bank & Trust                                              Commercial                                      $2,788,230.70                         $0.00          $2,788,230.70
 820 Church Street                                               security
 Evanston, IL 60201                                              agreement
 GE Medical                                                                                                                                                                   $768.00
 Equipment
 NEED ADDRESS
 James Sulzer                                                                                                                                                             $51,975.00
 Sulzer & Shopiro
 20 N Wacker Dr.
 Suite 2250
 Chicago, IL 60606




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Chicago Surgical Clinic LTD                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Schindler Elevators                                                                                                                                                          $217.25
 200 E Randolph St
 Suite 5400
 Chicago, IL 60601
 Steris Medical                                                                                                                                                             $1,289.75
 Equipment
 5960 Heisley Road
 Mentor, OH 44060
 Stoyan Kokochorov                                                                                                                                                      $726,427.10

 Wells Fargo Bank                                                UCC File #                                          $50,000.00                        $0.00              $50,000.00
 N.A.                                                            02181005
 300 Tri-State
 International
 Suite 4
 Lincolnshire, IL
 60069
 Wells Fargo Bank                                                UCC File #                                          $50,000.00                        $0.00              $50,000.00
 N.A.                                                            020516437
 300 Tri-State
 International
 Suite 4
 Lincolnshire, IL
 60069
 Wells Fargo Practice                                            Business line of                                                                                         $50,000.00
 Finance                                                         credit
 2000 Powell Street
 4th Floor
 Emeryville, CA
 94608
 Westside                                                                                                                                                                   $1,083.00
 Mechanical - HVAC
 2007 Corporate
 Lane
 Naperville, IL 60563




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                      Ailco Equipment Finance Group Inc.
                      W222N833 Cheaney Dr
                      Waukesha, WI 53186


                      American Express
                      PO Box 0001
                      Los Angeles, CA 90096


                      Chase Bank
                      PO Box 15298
                      Wilmington, DE 19850


                      Chase Visa
                      PO Box 15298
                      Wilmington, DE 19850


                      First Bank & Trust
                      Attn: Karen Hunt, Loan Officer
                      820 Church Street
                      Evanston, IL 60201


                      First Bank & Trust
                      820 Church Street
                      Evanston, IL 60201


                      Firstlease
                      1 Walnut Grove
                      Suite 300
                      Horsham, PA 19044


                      Firstlease Inc.
                      1 Walnut Grove Drive
                      Suite 300
                      Horsham, PA 19044


                      GE Capital
                      NEED ADDRESS


                      GE HFS LLC
                      PO Box 414, W-490
                      Milwaukee, WI 53201


                      GE Medical Equipment
                      NEED ADDRESS
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                  James Sulzer
                  Sulzer & Shopiro
                  20 N Wacker Dr. Suite 2250
                  Chicago, IL 60606


                  Law Office of Christopher Kendall
                  190 S LaSalle, Suite 3850
                  Chicago, IL 60603


                  Marlin Equipment Finance
                  300 Fellowship Road
                  Mount Laurel, NJ 08054


                  Olympus America Inc.
                  3500 Corporate Parkway
                  Center Valley, PA 18034


                  Olympus Financial Services
                  3500 Corporate Parkway
                  Center Valley, PA 18034


                  PNC Bank National Assn.
                  249 Fifth Ave
                  Mailstop P1-POPP-L
                  Pittsburgh, PA 15222


                  Pravati SPV II LLC
                  4600 N Scottsdale Road
                  Scottsdale, AZ 85251


                  Schindler Elevators
                  200 E Randolph St
                  Suite 5400
                  Chicago, IL 60601


                  Steris Medical Equipment
                  5960 Heisley Road
                  Mentor, OH 44060


                  Stoyan Kokochorov
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                  Wells Fargo Bank N.A.
                  300 Tri-State International
                  Suite 4
                  Lincolnshire, IL 60069


                  Wells Fargo Equipment Finance
                  300 Tri-State International
                  Suite 400
                  Lincolnshire, IL 60069


                  Wells Fargo Practice Finance
                  2000 Powell Street
                  4th Floor
                  Emeryville, CA 94608


                  Westside Mechanical - HVAC
                  2007 Corporate Lane
                  Naperville, IL 60563
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Chicago Surgical Clinic LTD                                                                Case No.
                                                                                  Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Chicago Surgical Clinic LTD in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 25, 2018                                                    /s/ Jeffrey Strange
 Date                                                                Jeffrey Strange 3122923
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Chicago Surgical Clinic LTD
                                                                     Jeffrey Strange & Associates
                                                                     717 Ridge Road
                                                                     Wilmette, IL 60091
                                                                     847-256-7377 Fax:847-256-1681
                                                                     jstrangelaw@aol.com




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